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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

                                                    )
 UNITED STATES OF AMERICA,                          )
                                                    )
                                                    )
                        v.                          ) Case No. 1:21-cr-138
                                                    )
 AARON MOSTOFSKY,                                   ) Judge James E. Boasberg
                                                    )
         Defendant.                                 )
                                                    )

     DEFENDANT MOSTOFSKY’S OPPOSITION TO THE GOVERNMENT’S MOTION
      TO VACATE TRIAL DATE AND CONTINUE TRIAL AND TO EXCLUDE TIME
                       UNDER THE SPEEDY TRIAL ACT

        Defendant Mostofsky opposes the government’s motion to vacate the trial date and to

exclude time within which a trial must commence under the Speedy Trial Act (STA). ECF No.

48. Although it is not styled this way, the government’s request is a motion for reconsideration,

as the Court rejected its ends-of-justice continuance arguments during the status conference on

August 6 and set trial for October 18. Because the Court did not “patently misunderstand the

parties,” make a decision “beyond the adversarial issues presented,” or err “in failing to consider

controlling decisions or data,” there is no basis to reconsider the Court’s previous trial date order.

United States v. Sunia, 643 F. Supp. 2d 51, 60 (D.D.C. 2009).

I.      The August 6 status conference and the parties’ discovery progress to date

        On August 6, the government provided a status update regarding discovery progress. The

substance of that update is reproduced in the government’s opposition to Mostofsky’s Motion to

Compel the Production of January 6 Brady Compilation Evidence. ECF No. 49, p. 2.

Specifically, the government advised that it had already provided the defense with:

        [S]ignificant case-specific discovery including clips of body-worn-camera footage and
        Capitol surveillance footage depicting the defendant inside and outside the U.S. Capitol

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       on January 6, 2021; nearly all of the Federal Bureau of Investigation’s (“FBI”)
       investigative case file specific to the defendant; grand jury materials including the
       transcript and exhibits used to support the initial indictment; and copies of arrest and
       search warrants with accompanying affidavits and returns. We have also provided the
       defendant the results from the search of his device pursuant to a warrant and returned his
       device to him. To assist the defendant in reviewing discovery, we produced materials in a
       digital format along with a 68-page index. We have also arranged multiple opportunities
       for defense counsel and an investigator to walk through the crime scene.

ECF No. 49, p. 2.

       At the same time, the government advised the Court that it needed additional time to

produce general (as opposed to case-specific) January 6 discovery, such as the entire universe of

MPD body-worn camera footage and Capitol surveillance video from January 6; the content of

devices seized from hundreds of defendants; and hundreds or thousands of law enforcement

investigation files documenting possible police misconduct, among other things. To comply

with its discovery obligations, including those pursuant to Brady v. Maryland, 373 U.S. 83

(1963), the government requested that the Court grant a 60-day ends-of-justice continuance

pursuant to the STA. Mostofsky, who was indicted nearly seven months ago, opposed the

request, noting that he was not thereby waiving his Brady and related discovery rights. The

Court declined to grant a continuance, setting a trial date of October 18 and a pretrial motions

deadline of September 1.

       Following the August 6 conference, Mostofsky has repeatedly requested that the

government prioritize case-specific discovery that he has itemized in writing. He has also asked

the government to provide notice as to when it will produce basic, case-specific discovery

categories essential to trial in October, such as Jencks and general impeachment materials; any

proposed Rule 404(b) material; body-worn camera footage for the entire day of January 6 but

only for the officer witnesses identified by the government; and preliminary exhibit and witness

lists. Mostofsky has repeatedly asked the government to confirm that it will make certain U.S.

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Capitol Police officers available so they will not need trial subpoenas. He has not received

answers to these questions and requests. None of them concerns the general, voluminous

January 6 discovery that the government says it needs additional weeks or months more to

produce.

       For example, Mostofsky has sent the following email to the government multiple times in

the past two weeks without receiving a substantive response:

       -- Please confirm USG has requested from MPD
       reports/findings/assessments/memoranda on the actions/conduct/performance of the
       officer witnesses on 1/6 and/or regarding MPD compliance with the DC Code and any
       other applicable laws and regulations on 1/6. Please let us know when you anticipate
       either producing these materials or confirming they are not in MPD possession, custody
       or control. We understand the full BWC videos for 1/6 are being produced for all MPD
       witnesses. 1
       --As you know, the Senate published a report analyzing the security issues involved on
       1/6, titled Examining the U.S. Capitol Attack: a review of the security, planning and
       response failures. Two of the documentary sources are the “US Capitol Police Timeline
       of Events for January 6 Attack” and the Joint Committee Interview with USCP Inspector
       on 5/27/21. HSGAC&RulesFullReport_ExaminingU.S.CapitolAttack.pdf
       (senate.gov). As you can see from the Senate report, much of those two sources is
       repeated and summarized in the report itself, but please produce the sources, as they are
       relevant to a number of issues in this case. If you do not agree to produce the sources,
       please let us know whether USG is amenable to stipulating certain facts in the Senate
       report, such as certain items in the USCP’s timeline of events.
       --Please provide the name of the USCP officer who engaged with Mostofsky in the Ohio
       Clock corridor, which is captured by CCTV. We previously sent images identifying the
       officer. He is the one who leans over to peer at the ballistic vest worn by Mostofsky and
       engages with him. Please let us know whether you intend to call this officer as a witness.
       If not, please confirm you will make him available for trial. If you will not, we would
       need to know soon, so that we can ensure his appearance. I am assuming you will also
       call the officer who grabs the shield from Mostofsky, but please confirm that and let us
       know the list of any other USCP officer witnesses.

1
  As the government’s status reports show, the U.S. Attorney’s Office has long been in
possession of these videos and could produce them at any time. ECF No. 44, p. 8 (“We have
already migrated over 2,900 body-worn-camera videos totaling over 2,300 hours (nearly 100
days) into [DOJ’s] instance of evidence.com.”). Yet the government has not produced the entire
January 6 BWC video for each officer witness.
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       --Officer Bogner’s BWC: thank you for sending the longer clip. As you note, it starts at
       13:47 and ends at 15:07. Please confirm there isn’t additional BWC video (before or
       after those time points) where he or another MPD officer/employee discusses the
       function, purpose, or consequences of the dispersal order. 2
       --Summary witness: it’s not clear if the Court would allow/feel the need for a government
       summary witness in a bench trial, but please let us know if you intend to use summary
       testimony. If so, will that witness be SA [agent’s name]?
       --Can you let us know when you intend to provide preliminary exhibit and witness lists,
       and when the government will be providing Jencks and general impeachment materials?
8/27/21 Email from Mostofsky’s counsel to government.

       Besides not timely producing those case-specific materials and/or not advising whether or

when they will be provided, the government has collected, but not produced, a large body of

potentially exculpatory material. Three days after the August 6 status conference, the

government filed the following update in another January 6 case:

       Although we are aware that we possess some information that the defense may view as
       supportive of arguments that law enforcement authorized defendants . . . to enter the
       restricted grounds, e.g., images of officers hugging or fist-bumping rioters, posing for
       photos with rioters, and moving bike racks, we are not in a position to state whether we
       have identified all such information. Pursuant to Brady and its progeny, we are required
       to make available the voluminous data that may contain any similar information for
       Defendant to review.

Mostofsky’s Motion to Compel Production of Brady Compilation Evidence, ECF No. 41, p. 2.



2
  The D.C. Code requires that MPD officers “issue at least one clearly audible and
understandable order to disperse using an amplification system or device, and shall provide the
participants [in an assembly] a reasonable and adequate time to disperse and a clear and safe
route for dispersal.” Code of the District of Columbia, § 5-331.07(e)(1). That section, and others
in the D.C. Code, applies in this case because 18 U.S.C. § 231(a)(3) does not occupy the field. 18
U.S.C. § 233. Dispersal order requirements found in many common law countries stem from the
Riot Act of 1714, an act of Parliament from which the idiomatic phrase “read the riot act”
derives. UK Parliament, 1714 Riot Act, available at: https://www.parliament.uk/about/living-
heritage/transformingsociety/electionsvoting/newport-rising/1839-newp-ris/riot-act-1714/.

The government has identified only one MPD dispersal order in the Capitol area in which
Mostofsky was present on January 6. It was announced approximately 30 minutes after the
barricade incident that is the subject of this case.
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       Since that time—about a month ago—the government has not made any of these Brady

materials available to Mostofsky, either collectively or on a rolling basis.

II.    Argument

       A.      The government has not satisfied the reconsideration standard

       Courts in this district adopt the standard of review for motions for reconsideration filed

under Rule 59(e) of the Federal Rules of Civil Procedure as the appropriate standard for motions

for reconsideration in criminal cases. Sunia, 643 F. Supp. 2d at 60 (citing United States v.

Libby, 429 F. Supp. 2d 46, 47 (D.D.C. 2006)). Reconsideration of an interlocutory decision is

available “as justice requires,” for which standard the relevant considerations include: “‘whether

the Court patently misunderstood the parties, made a decision beyond the adversarial issues

presented, made an error in failing to consider controlling decisions or data, or whether a

controlling or significant change in the law has occurred.’” 643 F. Supp. 2d at 61 (quoting Isse v.

Am. Univ., 554 F. Supp. 2d 25, 29 (D.D.C. 2008)).

       The government’s motion to vacate the trial date and to exclude time under the STA does

not even attempt to satisfy the reconsideration standard. It simply repeats the STA arguments

made by the government during the August 6 status conference—and in every single January 6

case regardless of the specific facts at issue—which were rejected by the Court. The government

again notes that courts grant ends-of-justice STA continuances in complex cases, ones that

“involve[e] far less complexity in terms of the volume and nature of data, and far fewer

individuals who were entitled to discoverable materials.” ECF No. 48, p. 4. This argument fails

as the question is whether this defendant’s case is complex, not whether all of the government’s

work lumped together may be regarded as collectively complex. 18 U.S.C. § 3161(h)(7)(B)(ii)

(“Whether the case is so unusual or complex. . . .”) (emphasis added). None of the authorities



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cited by the government holds that it is appropriate to continuously exclude time under the STA

in Defendant A’s case because the government must also prosecute Defendants X, Y, and Z, who

were not involved in joint criminal activity with Defendant A. ECF No. 48, pp. 5-6.

Mostofsky’s federalized trespass matter is not remotely a complex criminal case, factually.

       During the August 6 status conference, the Court did not misunderstand the parties, make

a decision beyond the issues presented, or fail to consider controlling decisions or data. The

government’s motion does not present a controlling or significant change in the law since August

6. Therefore, the government’s STA motion should be denied. Sunia, 643 F. Supp. 2d at 60.

       B.      The government’s continuance arguments wrongly assume an open-file
               production alone will satisfy its Brady-related obligations

       The government contends that the trial date should be vacated and continued for at least

another 60 days so that it can “ensur[e] that all arguably exculpatory materials are produced” to

the defense—in the form of massive databases of documents and digital materials, which

Mostofsky will have to scour for Brady material before trial. ECF No. 48, p. 1. This argument

should be rejected for several reasons.

       First, the government ignores Mostofsky’s repeated requests that the government

prioritize case-specific materials which he has itemized with particularity. The issue is not the

“7,000 hours of footage” from inside the Capitol Building, the “30,000 records from the U.S.

Capitol Police,” the “750,000 investigative memoranda” in the possession of the FBI, or the

2,300 hours of MPD body-worn camera footage. United States’ Memorandum Regarding Status

of Discovery as of August 23, 2021, ECF No. 44. The problem, rather, is that the government

cannot—or will not—produce (to take one example) the complete January 6 body-worn camera

footage merely for the officer witnesses in this case. Yet the government’s status reports indicate

that DOJ is already in possession of these videos. ECF No. 44, p. 8. Nor will the government

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explain when it intends to produce standard Jencks and impeachment materials; when it will

decide whether to attempt to use Rule 404(b) material; whether it will stipulate to certain facts to

streamline trial; whether it will make officer witnesses, whom it does not intend to call, available

for trial; and whether it will produce any other BWC videos or records concerning the MPD’s

dispersal order on January 6. None of these delays has anything to do with burdens resulting

from general January 6 discovery. The government can and should comply with these

reasonable discovery obligations well in advance of trial in October or its witnesses should be

struck. LCrR 5.1 (g).

        Second, the government’s argument for a 60-day continuance is premised on the

contention that it will be the defense’s unique and time-consuming burden to sift through the

multiple databases apparently being created by the government to locate case-specific Brady

material among tens of thousands of documents and media files. ECF No. 48, pp. 3-4. That is

wrong. As this Court has recognized many times, “‘open-file discovery does not relieve the

government of its Brady obligations.’” United States v. Saffarina, 424 F. Supp. 3d 46, 85(D.D.C.

2020) (quoting United States v. Hsia, 24 F. Supp. 2d 14, 29 (D.D.C. 1998) (Friedman, J.));

United States v. Blankenship, 2015 U.S. Dist. LEXIS 76287, *3 (S.D. W. Va. June 12, 2015)

(same); United States v. Salyer, 2010 U.S. Dist. LEXIS 77617 (E.D. Cal. Aug. 2, 2010) (same);

United States v. Bornovsky, 820 F.2d 575, 575 (2d Cir. 1987) (“The government did not fulfill its

obligation merely by providing mountains of documents to defense counsel who were left

unguided. . . .”).

        In Hsia, this Court held that “the government cannot meet its Brady obligations by

providing [the defendant] with access to 600,000 documents and then claiming that [the

defendant] should have been able to find the exculpatory information in the haystack.” 24 F.



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Supp. 2d at 29. The Court ordered the government to identify the Brady material of which it was

aware. Id.

       Similarly, in Saffarina the government produced “millions of pages of documents” to the

defense but refused to identify any Brady material of which it was aware. 424 F. Supp. 3d at 86.

This Court ordered the government to identify the Brady material of which the government was

or should be aware. 424 F. Supp. 3d at 90-91. The Court based its decision on the fact that the

defendant was “an individual defendant who neither has the benefit of parallel civil litigation,

nor access to voluntary corporate assistance to sift through the massive amounts of documents

within the government’s voluminous production.” Id. at 92. It was also determinative that

defense counsel was representing the defendant pro bono. Id.

       In Blankenship, the government produced “four million pages of discovery.” Even

though the government provided the defense with a “searchable, indexed, digital database of

documents,” the district court still ordered the government to “specifically designate any known

Brady material as such and disclose the same to defense counsel.” 2015 U.S. Dist. LEXIS

76287, at *6.

       In Salyer, the government’s massive production consisted of electronic information with

multiple gigabytes and millions of pages. 2010 U.S. Dist. LEXIS 77617, *1. Partly because the

defendant had a “small defense team,” the district court ordered the government to identify the

Brady/Giglio material in the production. Id. at *10.

        Here, the government has described its impending massive discovery production as

plucked from “the largest [investigation] in American history, both in terms of the number of

defendants prosecuted and the nature and volume of the evidence.” ECF No. 34, p. 2. As

Mostofsky already noted, the government’s latest status report suggests that it will be producing



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to Mostofsky millions of pages of documents and thousands of hours of video footage.

Mostofsky does not enjoy the benefit of parallel civil litigation or voluntary corporate assistance.

He has a very small defense team (by headcount). And although counsel is not representing

Mostofsky pro bono, he has not even had the time to submit a CJA voucher yet for his work.

       For all those reasons, the government’s 60-day continuance argument is not properly

premised on the notion that its Brady obligations are discharged by dumping a massive discovery

production on defense counsel who must alone scour it for Brady material. Unlike the defense,

the government has possessed most of those materials since it indicted Mostofsky nearly seven

months ago. It has an army of agents and lawyers reviewing the materials. So, the government

must promptly identify any Brady materials specific to this case before trial. Saffarina, 424 F.

Supp. 3d at 85; Hsia, 24 F. Supp. 2d at 29; Blankenship, 2015 U.S. Dist. LEXIS 76287, *3;

Salyer, 2010 U.S. Dist. LEXIS 77617, *10. LCrR 5.1(a) (government must make good faith

efforts to disclose Brady material to the defense as soon as reasonably possible after its existence

is known).

       C.      Even if the government cannot complete its discovery obligations by the trial
               date, Mostofsky cannot be forced to waive one set of substantial rights to
               preserve others

       The Constitution guarantees Mostofsky the right to a speedy trial and the STA requires

the government to try Mostofsky by October 18. 3 U.S. Const. amend. VI; 18 U.S.C. §



3
  Mostofsky has filed a Motion to Dismiss Counts One, Two, Five and Six of the Superseding
Indictment; and two motions to compel the production of materials. ECF Nos. 40, 41, 47. While
the STA provides that excludable time includes “delay resulting from any pretrial motion, from
the filing of the motion through the conclusion of the hearing on . . . such motion,” §
3161(h)(1)(D), the D.C. Circuit has held that that subsection does not apply to motions “which
can be decided on the papers alone.” United States v. Ntube, 1996 U.S. Dist. LEXIS 20617, *12
(D.C. Cir. 1996) (citing Henderson v. United States, 476 U.S. 321 (1986)). The latter are
governed by § 3161(h)(1)(H), which excludes “delay reasonably attributable to any period, not to
exceed thirty days, during which any proceeding concerning the defendant is actually under
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3161(c)(1). If the government does not, the Superseding Indictment “shall be dismissed on

motion of the defendant.” § 3162(a)(2).

        At the same time, the Constitution also guarantees Mostofsky the right to receive from

the government evidence favorable to him that is material to guilt or punishment. U.S. Const.

amend. V; Brady, 373 U.S. at 87. That right is violated when Mostofsky does not receive the

favorable evidence in time for trial (at the latest), “irrespective of the good faith or bad faith of

the prosecution.” Id. United States v. Agurs, 427 U.S. 97, 112-113, 49 L. Ed. 2d 342, 96 S. Ct.

2392 (1976) (defense request unnecessary); Kyles v. Whitley, 514 U.S. 419, 435, 131 L. Ed. 2d

490, 115 S. Ct. 1555 (1995) (exculpatory evidence is evidence the suppression of which would

“undermine confidence in the verdict”); Giglio v. United States, 405 U.S. 150, 154, 31 L. Ed. 2d

104, 92 S. Ct. 763 (1972) (exculpatory evidence includes “evidence affecting” witness

“credibility,” where the witness’ “reliability” is likely “determinative of guilt or innocence”).

        The government’s motion to vacate the trial date may be read as a concession that it

cannot satisfy its Brady obligations by October 18. ECF No. 48, p. 1 (STA tolling request

motivated by “government’s commitment to ensuring that all arguably exculpatory materials are

produced. . . .”). However, that does not mean that Mostofsky may be forced to choose between

his constitutional and statutory rights to a speedy trial and his right to receive from the

government evidence favorable to him. A criminal defendant may not be placed in the

“intolerable [situation in which] one constitutional right [must] be surrendered in order to assert

another.” Simmons v. United States, 390 U.S. 377, 394 (1968); United States v. Sheikh, 493 F.



advisement by the court” (emphasis added). The Court decides which motions “can be decided
on the papers alone.” Ntube, 1996 U.S. Dist. LEXIS 20617, *14. Here, it has advised the parties
that the Court typically does not hold hearings on criminal-case motions. Because the Court has
not yet taken Mostofsky’s motions under advisement, no STA delay is “reasonably attributable”
to them to date.
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Supp. 3d 883, 890 (E.D. Cal. 2020) (dismissing indictment under STA partly because of

government delays in producing Brady materials).

        Analogous to this situation is the issue of in what contexts a defendant may knowingly

and voluntarily waive his right to a fair trial by pleading guilty to an offense absent prior Brady

disclosures by the government. In United States v. Ruiz, 536 U.S. 622, 633 (2002), the Supreme

Court held that the government was not required to disclose material impeachment evidence

prior to entering a plea agreement with a criminal defendant. However, Ruiz was limited to

impeachment evidence. A defendant may “knowingly” and “voluntarily” waive his right to a

trial absent that type of evidence because “[i]t is particularly difficult to characterize

impeachment information as critical information of which the defendant must always be aware

prior to pleading guilty given the random way in which such information may, or may not, help a

particular defendant.” Id. at 630. The Court contrasted that type of information with evidence

“establishing the factual innocence of the defendant,” which the plea agreement in that case

committed to producing to the defendant, if known by the government. Id. at 625. The Supreme

Court has not considered whether Ruiz’s waiver rule applies to exculpatory material and some

courts, including in this district, have held that it does not. United States v. Ohiri, 133 F. App’x

555, 562 (10th Cir. 2005) (“By holding in Ruiz that the government committed no due process

violation by requiring a defendant to waive her right to impeachment evidence before indictment

in order to accept a fast-track plea, the Supreme Court did not imply that the government may

avoid the consequence of a Brady violation if the defendant accepts an eleventh-hour plea

agreement while ignorant of withheld exculpatory evidence in the government’s

possession.”); McCann v. Mangialardi, 337 F.3d 782, 788 (7th Cir. 2003) (noting that “given

th[e significant distinction between impeachment information and exculpatory evidence of actual



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innocence], it is highly likely that the Supreme Court would find a violation of the Due Process

Clause if prosecutors or other relevant government actors have knowledge of a criminal

defendant’s factual innocence but fail to disclose such information to a defendant before he

enters into a guilty plea”);United States v. Nelson, 979 F. Supp. 2d 123,135-36 (D.D.C. 2013)

(“Because the prosecution suppressed exculpatory evidence before Nelson pled guilty, Nelson’s

due process rights were violated to his prejudice and his guilty plea was not voluntary and

knowing.”).

       So too in the situation where a defendant is forced either to waive his right to a speedy

trial or to waive his right to as-yet-unknown potentially exculpatory Brady material. If the

voluminous evidence the government seeks 60 days to produce contains exculpatory information

in this case, due process requires that the government promptly advise Mostofsky of that fact (if

it is known or it reasonably should be known) and whether it can be produced before the current

trial date and if so when. Conversely, if the unproduced evidence does not contain exculpatory

information in Mostofsky’s case, Mostofsky must be made aware of that fact, so that he can

“knowingly” and “voluntarily” decide whether to waive his speedy trial rights. See Godinez v.

Moran, 509 U.S. 389, 400 (1993) (waiver of constitutional rights must be made knowingly and

voluntarily).

       It must be kept in mind that responsibility for the constitutional trade-off posed by the

government lies with it far more than with Mostofsky. Mostofsky is not accused of encouraging

anyone else to protest at the Capitol on January 6. He is not responsible in any way for the

number of protesters there. Nor did Mostofsky compel the government to indict over 600

defendants at the same time, a number that will apparently breach 1,000 before the government

is done. Despite enjoying a five-year statute of limitations period, the government elected to



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overwhelm the court system with defendants by charging them all at once—and all in federal

court. Many of the protesters committed crimes that traditionally belong in the federal system

(such as assaults on federal law enforcement at the Capitol or destruction of federal property),

but dozens to hundreds of them committed alleged protest-related offenses that the government

has historically handled through the “post-and-forfeiture” procedure in D.C., where an arrestee

pays a fine and is dismissed. The January 6 docket bottleneck is a policy choice, not some

inevitability out of the government’s hands, like the intrinsic factual complexity of a crime in a

particular case. That choice’s trade-offs are the government’s, not Mostofsky’s.

       The government implies it cannot satisfy its Brady and other discovery obligations until

after the trial date, the seventieth day from Mostofsky’s arraignment, not including STA

excludable time. If so, the correct response is not to compel Mostofsky to waive one of his

constitutional rights. Instead, the government may move the Court to continue the trial date

without excluding time under the STA. After the 70-day mark, the STA will require the Court to

dismiss the Superseding Indictment. § 3162(a)(2). The government may then make its

arguments as to why the indictment should not be dismissed with prejudice. Id.

Dated: September 6, 2021                              Respectfully submitted,


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                                    Certificate of Service
       I hereby certify that on the 6th day of September, 2021, I filed the foregoing document

with the Clerk of Court using the CM/ECF system, which will send a notification of such filing

(NEF) to the following CM/ECF user(s):

              Graciela Lindberg
              Assistant United States Attorney
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       And I hereby certify that I have mailed the document by United States mail, first class

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